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                                           #: 547480
                                                                         462 Fashion Ave Fl 6
                                                                         New York, NY 10018
                                                                         Phone: (212) 500-1891
                                                                         Fax: (917) 591-0289
                                                                         E-mail: james@thelawyerjames.com
                                                                         Website: www.thelawyerjames.com


 January 6, 2025

 VIA ECF

 Magistrate Judge Joseph A. Marutollo
 United States District Court
  for the Eastern District of New York
 225 Cadman Plaza East
 Courtroom N324
 Brooklyn, NY 11201

 RE:    IN RE PAYMENT CARD INTERCHANGE FEE AND MERCHANT DISCOUNT
        ANTITRUST LITIGATION
        Case No. 05-MD-1720 (MKB) (JAM)
        CardSettlement.org Request to Resume Claims Activities, and, as necessary,
        Request to Conduct Bilateral Discovery

 Dear Judge Marutollo:

 I represent CardSettlement.org, and CardSettlement.org hereby requests leave of Court to resume
 claims filing activities with respect to potential claimants who have signed up for third party
 claims filing services through CardSettlement.org, as of December 26, 2024, as more particularly
 described in the accompanying sworn Declaration of Greg Frierson, Managing Director of
 CardSettlement.org (“Frierson Decl.”).

 The overarching and predominant concern of the Court and Class Counsel is as follows, by the
 Court: “I think I remain concerned that there may be a massive fraud here particularly in light of
 class counsel's point that in two months there’s now 13,000 proofs that have been submitted
 which may be appropriate or may not be appropriate.” (December 11, 2024 Transcript,
 19:7-11, submitted herewith) (emphasis added). There are other concerns as stated in the
 accompanying transcript of the December 11, 2024 conference, and the Frierson Decl. was
 carefully drafted to address all of them, and to give the Court and Class Counsel comfort as to
 the legitimacy of CardSettlement.org’s operations, which include acquiring claimants and
 working the claims of those claimants through the claims administration process with Epiq.

 To give the Court and Class Counsel additional comfort, CardSettlement.org, as set forth in great
 detail in the Frierson Decl., offers to send an email, at CardSettlement.org’s expense, to all
 potential claimants who have signed up for CardSettlement.org’s claims filing services and
 giving those potential claimants the option of canceling their contracts with CardSettlement.org.
 The foregoing email is being proposed in the same spirit as the email approved in the stipulation
 with Betz & Baril (another third party claims filer) by Class Counsel and “so ordered” by the
 Court [Dkt. No. 9465]. While the emails are not identical, the option to cancel spirit is
 maintained and eliminates any indicia of fraud on the part of CardSettlement.org. The law of the
 case doctrine, while not directly on point, is instructive here in the sense that if it was sufficient
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 for Betz & Baril, it should similarly be sufficient for CardSettlement.org.

 In addition to the foregoing, CardSettlement.org and the undersigned understand and appreciate
 that the protection of the Class is paramount. To that end, CardSettlement.org hereby offers to
 reimburse the Class for all expenses, i.e., reasonable and verified Epiq and Class Counsel fees
 and expenses associated first alleging, and then determining, the legitimacy of any of
 CardSettlement.org’s withdrawn authorities to represent.

 CardSettlement.org hereby respectfully requests leave of Court to resume claims activities as
 aforesaid and as set forth more particularly in the Frierson Decl.

 If and to the extent that the foregoing does not for whatever reason quell any concerns of fraud
 on the part of CardSettlement.org, then CardSettlement.org would be grateful for the opportunity
 to discuss the following questions and the answers to the following questions with the Court and
 with Class Counsel:

    •   Do the Court, Epiq, and Class Counsel appreciate that the way these issues with the
        authorities to represent came to light with CardSettlement.org was through or would have
        been through implementing and executing CardSettlement.org’s automations and
        standard operating procedures?

    •   Is Class Counsel claiming that CardSettlement.org intentionally falsified authorities to
        represent some potential claimants? If so, why would contacting the actual merchants
        themselves and giving them the option to cancel their contracts with CardSettlement.org
        be problematic and unacceptable? What else does CardSettlement.org need to do to give
        the Court and Class Counsel an acceptable level of comfort?

    •   If Class Counsel is accusing CardSettlement.org of fraud, how is business experience and
        reputation not relevant? Don’t business experience and reputation speak to credibility,
        and isn’t whether a business or a person is credible or relevant for analyzing the presence
        or absence of fraud?

    •   Why is Class Counsel seeking to punish CardSettlement.org for having the ingenuity and
        creativity to develop and implement a system that is able to sign up a lot of clients for
        claims filing services in a short amount of time, in the absence of nefarious or reckless
        intent?      There are many companies that have leveraged technology, like
        CardSettlement.org, that have been able to scale — i.e., acquire clients — quickly. For
        example, see https://www.prnewswire.com/news-releases/mytown2go-is-joining-the-
        deliverycom-network-301087949.html.        See also book titled Masters of Scale,
        https://www.amazon.com/Masters-Scale-Surprising-Successful-
        Entrepreneurs/dp/0593239083.

    •   If the object of the settlement is to have merchants who are entitled to participate in the
        settlement actually participate in the settlement — to make merchants who were wronged
        by visa/mastercard whole — then how is CardSettlement.org not providing a valuable
        service to its more than now 17,000 potential clients in connection with assisting with the
        claims filing and settlement processes? Is Class Counsel seeking to benefit from
        CardSettlement.org’s claims filing services and then cast CardSettlement.org aside, in the
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        absence of being able to prove fraud? How does that make any sense?

    •   Why would Class Counsel accuse CardSettlment.org of fraud, and then propose that
        CardSettlement.org continue to service claims without compensation, as a form of
        sanctions?

    •   How can Class Counsel be considered impartial with respect to third party claims filers
        like CardSettlement.org, when Class Counsel has expressed unequivocal disdain for third
        party claims filers like CardSettlement.org by openly dismissing the work of third party
        claims filers like CardSettlement.org by openly characterizing the work as merely
        “clicking two buttons,” when the work of third party claims filers like CardSettlement.org
        is clearly more extensive. There are other third parties that CardSettlement.org can
        subpoena in this connection to provide testimony, insight, confirmation, and
        substantiation of this sentiment and disdain.

    •   If and to the extent that Class Counsel has threatened to report or refer
        CardSettlement.org to the U.S. Attorney (whatever that means, as the U.S. Attorney
        prosecutes both criminal and civil matters), CardSettlement.org respectfully requests that
        the Court remind Class Counsel of this: “A lawyer shall not . . . present, participate in
        presenting, or threaten to present criminal charges solely to obtain an advantage in a civil
        matter.” Rule 3.4 (Fairness to Opposing Party and Counsel), New York State Unified
        Court System, Part 1200, Rules of Professional Conduct, if and to the extent applicable
        here https://www.nycourts.gov/legacypdfs/rules/jointappellate/NY-Rules-Prof-Conduct-
        1200.pdf

 IMPORTANTLY, NOT A SINGLE CLAIM WITH AN UNAUTHORIZED (BY THE
 MERCHANT) OR UNCONFIRMED (BY THE MERCHANT) AUTHORITY TO
 REPRESENT HAS BEEN SUBMITTED TO EPIQ THROUGH CARDSETTLEMENT.ORG
 FOR PARTICIPATION IN THE CLASS SETTLEMENT. THERE IS NO FRAUD ON THE
 PART OF CARDSETTLEMENT.ORG WHATSOEVER. IF AND TO THE EXTENT THAT
 CLASS COUNSEL INSISTS ON PRESSING WITH A CLAIM OF FRAUD AGAINST
 CARDSETTLEMENT.ORG, CARDSETTLEMENT.ORG RESPECTFULLY REQUESTS
 THAT CLASS COUNSEL CLARIFY THE STANDARD BY WHICH CLASS COUNSEL
 ALLEGES FRAUD, INCLUDING WHERE THE BURDEN OF PROOF LIES, I.E., DOES
 CLASS COUNSEL HAVE TO SPECIFICALLY PROVE FRAUD BY INTENT OR
 RECKLESSNESS OR NEGLIGENCE, OR DOES CARDSETTLEMENT.ORG HAVE TO
 PROVE THE ABSENCE OF FRAUD, OR DOES CARDSETTLEMENT.ORG HAVE TO
 PROVE GOOD FAITH – AGAIN, DOES CLASS COUNSEL HAVE TO PROVE
 FRAUDULENT INTENT OR RECKLESSNESS OR NEGLIGENCE ON THE PART OF
 CARDSETTLEMENT.ORG, OR DOES CARDSETTLEMENT.ORG HAVE THE BURDEN
 OF PROVING THE ABSENCE THEREOF? THESE ARE EXTREMELY SERIOUS
 ALLEGATIONS AGAINST THE INTEGRITY OF CARDSETTLEMENT.ORG AND ITS
 FOUNDERS.    DUE PROCESS, EQUAL APPLICATION OF THE LAW, AND
 PROPORTIONALITY     OF   CONSEQUENCES,   ARE   ALL     FUNDAMENTAL
 CONSTITUTIONAL CONSIDERATIONS AT ISSUE HERE.

 In closing, if and to the extent that the Court and Class Counsel believe that the previously

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 ordered discovery remains relevant, CardSettlement.org is prepared to deliver, and will deliver,
 its responses and objections by the January 6, 2025 deadline. Correspondingly,
 CardSettlement.org hereby also requests leave of Court to permit CardSettlement.org to engage
 in bilateral – instead of one-way – discovery, i.e., that CardSettlement.org be permitted to
 propound discovery upon others, including but not limited upon the Claims Administrator, Epic.
 This discovery is necessary and relevant because, for instance, by way of example only and
 without limitation, Class Counsel claims that the following statement made by
 CardSettlement.org is false: “About 1/3 of the settlement claims have potential issues preventing
 them from receiving a settlement. We’re here to help you get these problems solved. (this is
 definitely worth a few minutes!)” This statement is in fact true based on CardSettlement.org’s
 internal claims data that, if and to the extent the Court does not moot discovery in the light of the
 foregoing proposal, CardSettlement.org will provide to Class Counsel. In addition, bilateral
 discovery is also necessary because Ms. Hong at Epiq, during the December 11, 2024
 conference, “provided insight” into the claims process, and stated on the record, that Epic
 “cannot identify if they’re fraudulent like the doctor who raised a concern with us. That, we
 would have no way because it was a legitimate class member.” Again, if and to the extent
 CardSettlement.org’s proposed solution above does not give the Court and Class Counsel
 adequate comfort, discovery of Epiq is necessary and appropriate in this regard to establish the
 contours of Epiq’s fraud mitigation policies, if any, and to determine how, if at all,
 CardSettlement.org may or may not be expected to operate under a different standard, that Epiq
 itself is not expected to meet, nor held to meet.

 As always, the undersigned and CardSettlement.org remain available to discuss the foregoing at
 the pleasure of the Court and Class Counsel.


                                                       Respectfully submitted,
                                                       /s/James J. DeCristofaro
                                                       James J. DeCristofaro




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

        --------------------------------X Docket#
                                        : 05-md-01720-MKB-JAM
                                        :
        IN RE PAYMENT CARD INTERCHANGE : U.S. Courthouse
        FEE AND MERCHANT DISCOUNT       : Brooklyn, New York
        ANTITRUST LITIGATION            :
                                        : December 11, 2024
                                        :
        --------------------------------X

                TRANSCRIPT OF CIVIL CAUSE FOR MOTION HEARING
                  BEFORE THE HONORABLE JOSEPH A. MARUTOLLO
                       UNITED STATES MAGISTRATE JUDGE
        A   P   P   E   A        R   A       N      C     E       S:
        (VIA VIDEO/AUDIO)


        For the Plaintiffs:              Alexandra Bernay, Esq.
                                         Robbins Geller Rudman & Dowd
                                         655 W. Broadway, Suite 1900
                                         San Diego, CA 92101

                                         Michael J. Kane, Esq.
                                         Berger & Montague, PC
                                         1818 Market Street, Suite 3600
                                         Philadelphia, PA 19103




        For Cardsettlement.org:          James J. DeCristofaro, Esq.
                                         902 Broadway, 6th Floor
                                         New York, NY 10010




        Transcription Service:           Transcriptions Plus II, Inc.
                                         61 Beatrice Avenue
                                         West Islip, New York 11795
                                         RL.Transcriptions2@gmail.com




        Proceedings recorded by electronic sound-recording,
        transcript produced by transcription service
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   1               THE CLERK:    Docket number 5-mb-1720, In re

   2   Payment Card Interchange Fee and Merchant Discount

   3   Antitrust Litigation.

   4               Will the parties please state their appearances

   5   for the record starting with plaintiff?

   6               MS. BERNAY:     Yes.    Good afternoon.        Alexandra

   7   Bernay from Robbins Geller Rudman & Dowd on behalf of the

   8   Rule 23(b)(3) class.

   9               MR. KANE:    Michael Kane from Berger Montague

  10   also on behalf of the Rule 23(b)(3) class.

  11               MS. HONG:    Jennifer Hong on behalf of EPIC

  12   class administrator.

  13               MR. DECRISTOFARO:         This is James DeCristofaro

  14   of James DeCristofaro Esq.         I represent

  15   cardsettlement.org.      I believe that two business

  16   representatives from cardsettlement.org are also on the

  17   line; Gregory Frierson and Lawrence Rappaport.                They
  18   dialed in separately so they can confirm that they are

  19   here as well if they wish to so do so.            And if you don't

  20   know, you might be muted and I think you need to press

  21   star 6 to unmute.

  22               MR. FRIERSON:     Greg Frierson with

  23   cardsettlement.org is here.

  24               MR. RAPPAPORT:     Lawrence Rappaport,

  25   cardsettlement.org.




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   1                          (Pause in proceedings)

   2               THE COURT:     Okay.   Good afternoon, everyone.

   3   This is Judge Marutollo.       Any other attorneys need to

   4   identify themselves for the record?

   5               Okay.     So let me hear first from class counsel

   6   just to provide another overview of the issues that

   7   currently exist with respect to cardsettlement.org and

   8   Merchant Stronghold.

   9               MS. BERNAY:     Thank you, your Honor.          Alexandra

  10   Bernay.   I don't believe despite us alerting them, I

  11   don't believe anybody from Merchant Stronghold is on the

  12   line, or if they are, they have not yet identified

  13   themselves but I wanted to just point that out.

  14               THE COURT:     And let me just interrupt just for

  15   a moment.    Is anyone on from Merchant Stronghold?

  16               Okay.     I'm sorry, continue class counsel.

  17               MS. BERNAY:     Thank you.     Your Honor, we have
  18   written you two letters, one dated December 4th, one

  19   dated December 9th.      Those are docket entries 9489 and

  20   9495.   Both of these entries deal with two entities, one

  21   of which is here and represented by counsel at

  22   cardsettlement.org.      The other, which we just discovered,

  23   Merchant Stronghold, is not on the line.

  24               Your Honor, there's been a series of events

  25   beginning in early November related to this entity.                It




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   1   started when we discovered two videos that directed

   2   watchers to the cardsettlement.org website.              Those videos

   3   contained significant false and misleading information.

   4   But we were able to contact cardsettlement.org and they

   5   took those down.      But those videos also let us to

   6   cardsettlement.org's website that also contained

   7   significant false and misleading information.

   8               Based on those things, we tried to work with

   9   cardsettlement.org without burdening the Court in general

  10   when we find these people misleading class members.                We

  11   try to first at least work it out and oftentimes people

  12   immediately make corrections.

  13               With this entity we then discovered, and this

  14   was again in I believe in mid-November, that they had

  15   submitted several proof of authority documents that

  16   appeared to be fraudulent.       In total, EPIC first

  17   discovered several, including one signed by JK Rowling,
  18   on behalf of JK Rowling, and then signed by one of the

  19   characters in the Harry Potter books.           There were also

  20   ones that contained names that were basically profanity.

  21   And in total, after we brought these to

  22   cardsettlement.org's attention, they came back with a

  23   list of 96 proofs of authority that they suggested should

  24   be withdrawn.    They since, and again, this is more of the

  25   problematic nature of what we're dealing with, they tried




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   1   to un-withdraw 33 of those.

   2               Following that issue, we believed at that time

   3   really that everything was dealt with.            However, on

   4   December 3rd, EPIC alerted class counsel to a very

   5   serious issue where a doctor who had filed a claim on his

   6   own behalf received a notice of conflict and he contacted

   7   them and said that he had never heard of this entity,

   8   which was cardsettlement.org.         He had done no business

   9   with them, et cetera.      In looking that up when we

  10   confronted cardsettlement with that, we were told that a

  11   referral partner of theirs known as Merchant Stronghold

  12   falsely filed claims on behalf of this merchant as well

  13   as 47 additional merchants that we know of right now.                 So

  14   that became a very serious problem.

  15               Cardsettlement.org provided us some information

  16   about how Merchant Stronghold had acted without knowledge

  17   or consent of these class members but it had not told
  18   class counsel until class counsel confronted them with

  19   this.   I mean these are fake Docusign documents, as we

  20   detailed in 9489.      We also received more complaints

  21   regarding another referral partner of theirs making

  22   significant false and misleading statements and we also

  23   alerted the Court to that again in docket 9489.               Then we

  24   filed, and the Court signed on December 7, a proposed

  25   order to show cause.      But on Friday night, December --




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    1   gosh I guess it was -- I apologize, I don't remember

    2   the -- oh, I'm sorry, December 6th, I received an email

    3   from the original class member, the doctor, who after

    4   working all day received an email from cardsettlement.org

    5   saying please confirm that you wish to do business with

    6   us even though this is an entity -- I mean this office

    7   was already told that this was a fraudulently signed

    8   contract.   Now, cardsettlement.org will say I think

    9   something to the effect that they were having issues with

   10   differing email addresses, but the name of the business

   11   is the same.

   12               And we decided at that point that things were

   13   just so serious and this company was so unable to manage

   14   the I guess it's now six different issues in an extremely

   15   short time that have been raised.          Class counsel believed

   16   that it was necessary to seek a second order to show

   17   cause barring vote this company and Merchant Stronghold
   18   from having anything to do with the settlement and

   19   canceling the contract.

   20               And your Honor, just one last thing before I

   21   will cede the floor and that is that the very first time

   22   that the administrator received anything, proofs of

   23   authority from this entity was October 4th.              So in that

   24   period of time they had submitted more than 13,000 proofs

   25   of authority.    Many of them have been reviewed and are at




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    1   least in an approved status which only means that it

    2   meets the requirement that EPIC has laid out, not that

    3   they are valid in any way, shape or form.               But it's very

    4   concerning that just in two months this company is really

    5   in like sort of the top five of all filers and it

    6   indicates to us at least that something is wrong in their

    7   controls.

    8                And part of the problem is is we just cannot at

    9   this point tell, and I don't know that they've come up

   10   with a way to tell that these are, you know, that the

   11   13,000 that are sitting there are not the product of

   12   fraud.   So hopefully, that's a decent overview but I'm

   13   happy to answer additional questions.

   14                And your Honor, I also have Ms. Hong from EPIC

   15   on the line and she has been assisting me specifically

   16   with this entity so she may be able to answer some

   17   questions as well.
   18                THE COURT:   Okay.   Thank you, counsel.            Let me

   19   hear from counsel for the cardsettlement.org website.

   20   And if you could just say your name before speaking and

   21   you could spell it for the record as well.

   22                MR. DECRISTOFARO:        Yeah, of course, your Honor.

   23   James DeCristofaro for cardsettlement.org.               James,

   24   J-A-M-E-S.    DeCristofaro is D-E capital C-R-I-S-T-O-F

   25   like Frank, A-R-O.




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    1              Okay.     So a couple of things here.           First,

    2   there is the history which, you know, early October

    3   cardsettlement.org got involved, they were notified of

    4   some issues in early November.         I believe it was November

    5   4th or 5th.    Class counsel and cardsettlement.org worked

    6   independently to resolve those issues.

    7              And then the issues, as I understand it, that

    8   are now teed up before the Court involve really two

    9   things.   Number one, issues that EPIC raised with the JK

   10   Rowling submission and the other submission.               And then

   11   the ones that were submitted through Merchant Stronghold.

   12   I'm not saying by any means that what Ms. Bernay said

   13   with respect to the background is not relevant.                I'm

   14   saying that it is simply background that as I understood

   15   it was not the subject of the orders to show cause.

   16   That's not to say that it's not and it won't be.                But the

   17   order said today with regard to the status conference, it
   18   said come prepared to discuss those two issues.

   19              So with respect to the --

   20              THE COURT:     Well, it said actually including

   21   among other things.      I wanted to make sure that you were

   22   aware not only of the issues raised in class counsel's

   23   initial letter but also what was raised in the December

   24   4th letter.    I appreciate that you're not a party to this

   25   case and not on the docket, but that was more than a




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    1   courtesy than anything.      But really, class counsel should

    2   be prepared to discuss all the -- excuse me, counsel for

    3   cardsettlement.org should be prepared to discuss all the

    4   points that class counsel just raised.              But go ahead, Mr.

    5   DeCristofaro.

    6              MR. DECRISTOFARO:          Understood.       Thank you.

    7   Thank you, your Honor.

    8              So with respect to the -- we'll take the second

    9   one first, the JK Rowling and then the other ones.                 The

   10   JK Rowling was a test submission that was generated by

   11   cardsettlement.org and it was submitted in error.                 That

   12   was a mistake on their part.          And I think it was, you

   13   know, not knowing really anything from anything else,

   14   without knowing anything from anything else that was

   15   obviously a --

   16              THE COURT:     Well, just to be clear, was it a

   17   test or was it an error?      I mean it seems like those are
   18   two different things.

   19              MR. DECRISTOFARO:          It was a test submission

   20   that shouldn't have been submitted.            I believe what

   21   happened was they were doing some internal things and

   22   they hit the submit button by mistake.             So that's as I

   23   understand the JK Rowling.

   24              The other ones with profanity were not

   25   generated by them but were nevertheless submitted.




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    1               Now, with respect to the 48 other ones --

    2               THE COURT:    Well, we're just focusing on the

    3   profanity items.     Why were those -- what was the outcome

    4   of those?

    5               MR. DECRISTOFARO:         The outcome is that they

    6   were ultimately resolved and withdrawn.                 And let me see

    7   if I can start out at the end.          Once all of these issues

    8   were brought to cardsettlement.org's attention,

    9   everything on cardsettlement.org's side has been

   10   resolved.

   11               THE COURT:    Just so I understand it though, to

   12   take a step back, so let's just focus on those

   13   submissions that used profanity.           Were those submissions,

   14   were they withdrawn because of some kind of internal

   15   review that cardsettlement.org conducted?                 Or was that

   16   only withdrawn once class counsel raised the concern?

   17               MR. DECRISTOFARO:         As I understand it, the
   18   latter.    Now --

   19               THE COURT:    So then why wasn't something

   20   particularly, you know, that was plainly fake if there

   21   was profanity used, why wasn't that uncovered or

   22   addressed within cardsettlement.org's own internal

   23   auditing or internal review process?

   24               MR. DECRISTOFARO:         Well, so for a couple of

   25   reasons.    Number one, it was automated at that time and




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    1   now it's not.

    2              And number two, they were fairly new to the

    3   game.

    4              So going forward and now in place, first of

    5   all, each one of the now 13 plus thousand claims that

    6   have been submitted have gone through an internal vetting

    7   process and then viewed by a human.

    8              And number two, as of I believe it's November

    9   21st there's been a standard operating procedure that the

   10   company has been implementing and has implemented

   11   internally and there have been no authority issues raised

   12   since that point.

   13              THE COURT:     I remain very concerned on this

   14   issue because one, it does not give the Court any piece

   15   of mind to say that each of the 13,000 claims have been

   16   viewed by a human particularly since, you know, maybe

   17   that will weed out the Harry Potter characters and
   18   clearly profane submissions.          But obviously, the fact

   19   that it's reviewed by a human doesn't necessarily mean

   20   that, you know, it is a --

   21              MR. DECRISTOFARO:          Well, yeah, if I may --

   22              THE COURT:     -- that is a valid submission.

   23              MR. DECRISTOFARO:          Yeah.   So if I may, that

   24   wasn't as specific as it should have been.               There is a

   25   four or five page standard operating procedure now that




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    1   this human reviews -- the reason why I made the human

    2   versus automated distinction was because, you know, the

    3   human can catch it while the automation, you know,

    4   wouldn't.

    5               Now, in respect of the SOP, which should give

    6   the Court comfort, is that there's a whole procedure

    7   which we can submit, by the way, and intend to submit

    8   along with our other supporting documents on December

    9   16th to the extent that that's still the date that the

   10   Court sets for our submission, there's an EIN

   11   verification process that they go through.              They go

   12   through a company name process that they verify and they

   13   go through a title of the person submitting the authority

   14   that they go through as well.         So it's not just being

   15   looked at by a human to verify a name to see if it's

   16   nonsense or profanity.      It's actually the EIN, you know,

   17   the employer identification number, the merchant name,
   18   and the person that's submitting it, who is submitting it

   19   on behalf of the merchant and their title.              So it's must

   20   more involved --

   21               THE COURT:    Counsel, how many fraudulent

   22   submissions were there from cardsettlement.org?                Because

   23   in the class counsel letter on December 9th, you know,

   24   there was a suggestion that they're committed,

   25   cardsettlement.org is committed to withdrawing the fake




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    1   claims.    Is that 96 state claims that have already been

    2   withdrawn or is that more than that number?

    3               MR. DECRISTOFARO:         As far as I understand it,

    4   and this is -- the number that I discussed with

    5   cardsettlement.org is 48 and those have all been

    6   resolved.    And with --

    7               MS. BERNAY:     Your Honor --

    8               THE COURT:     Well, hang on a second, class

    9   counsel.    Go ahead.

   10               MS. BERNAY:     Yes.

   11               THE COURT:     And I'll give you a chance to --

   12               MS. BERNAY:     Thank you.

   13               MR. DECRISTOFARO:         And so we haven't discussed

   14   the 96.    So this is again, you know, another thing, for

   15   what it's worth, you know, I was engaged last night and

   16   we're working through these issues now so that there

   17   might be a little bit of more work to do with regard to
   18   the specific numbers because this is the first I'm

   19   hearing of the 96 and the 33.          What I've discussed with

   20   my client is the 48.      So I will certainly welcome any

   21   sort of other information or additional information that

   22   class counsel has.      As I understand it, all of those --

   23               THE COURT:     Let me hear from class counsel just

   24   on this point, but then I want to go back to Mr.

   25   DeCristofaro.




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    1               MS. BERNAY:     Yes.   Thank you, your Honor.

    2   There's two sets of fraudulent or questionable materials

    3   that cardsettlement.org has dealt with.

    4               The first was when we alerted them to the

    5   profanity and the JK Rowling issue, they came back and as

    6   detailed on document 9489 at page 2, they did inform us

    7   that the JK Rowling one was mistakenly submitted as a

    8   test.   However, they then spent time reviewing what they

    9   submitted and reported to class counsel that there were

   10   96 that they sought to withdraw.           This was back in mid-

   11   November.

   12               Then they have now tried to I'm going to say

   13   un-withdraw 33.       And we have 63 that were on that

   14   original list.       Then we then learned about the Merchant

   15   Stronghold fake submission, that are the 48 that you've

   16   been hearing about.

   17               So the problem, your Honor, is that even if
   18   somebody reviewed the EIN, the business name, all of

   19   those things, they would not know whether or not those

   20   were falsely submitted because the 48 that include the

   21   doctor, it has accurate information.             It just was done

   22   without their knowledge or consent and they falsely

   23   signed Docusigns.       So we don't have a way to determine

   24   whether or not others in addition to the 96 and the 48

   25   are sitting in that pile of 13,000.            So hopefully that




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    1   clarifies at least some of the numbers.

    2              THE COURT:     I'm going to ask, and I will set a

    3   deadline for cardsettlement.org to provide a fulsome

    4   response, but let me just ask cardsettlement.org where do

    5   things stand with Merchant Stronghold?

    6              MR. DECRISTOFARO:          Two things.       Number one,

    7   Merchant Stronghold -- and we have all of this

    8   documentation that we can submit to the Court.                Merchant

    9   Stronghold admitted that it was their mistake and sent an

   10   email to the claimants.

   11              And number two, cardsettlement.org has since

   12   severed the relationship with Merchant Stronghold.

   13              THE COURT:     And so I understand it, is

   14   cardsettlement.org processing or receiving any new

   15   submissions at this stage?

   16              MR. DECRISTOFARO:          Independent of Merchant

   17   Stronghold?
   18              THE COURT:     Yes.

   19              MR. DECRISTOFARO:          And just in the general

   20   operation of their business?          Yes.

   21              THE COURT:     All right.         Are they currently

   22   submitting any claims to EPIC?

   23              MR. DECRISTOFARO:          Yes, after they review them

   24   and vet them.

   25              THE COURT:     Okay.   And let me just hear, and




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    1   maybe class counsel or EPIC's counsel can respond, are

    2   you taking any action with any submissions that have been

    3   sent by cardsettlement.org in the last couple of days and

    4   since this has come to the Court's attention?

    5              MS. BERNAY:     Your Honor, I do not know the

    6   internal processing that EPIC is doing with those other

    7   than -- but Ms. Hong is on the line and she may be able

    8   to speak to how they are treating claims or proofs of

    9   authority that have come in roughly since December 4th

   10   when we alerted the Court to this problem.

   11              THE COURT:     Go ahead counsel for EPIC.

   12              MS. HONG:     Yes, this is Jennifer.           I just want

   13   to clarify I'm not counsel for EPIC.            I am a team member

   14   of the project team.

   15              THE COURT:     Okay.

   16              MS. HONG:     But I can provide insight onto that.

   17   Our team that is reviewing these is looking at them with
   18   a closer eye to make sure that nothing jumps to our

   19   attention in the sense of a JK Rowling or profanity or a

   20   company that looks as if, you know, it's out of place.

   21   An example of it would be if they submitted PayPal, that

   22   may bring something to our attention.

   23              But as counsel for the class had said, we

   24   cannot identify if they're fraudulent like the doctor who

   25   raised a concern with us.       That, we would have no way




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    1   because it was a legitimate class member.

    2              THE COURT:     So what's cardsettlement.org's

    3   response to that type of a scenario with the doctor

    4   that's described in the class counsel's papers?                 How does

    5   cardsettlement.org address that type of issue?

    6              MR. DECRISTOFARO:          Yeah, I think I need to get

    7   with cardsettlement.org and resolve that and figure it

    8   out and review the SOP for that issue in particular.                  I

    9   think that hits the nail right on the head with respect

   10   to the biggest issue here.

   11              THE COURT:     Okay.   So this is what I'm going to

   12   do.   I'm going to ask class counsel to file later today

   13   and updated proposed order to show cause.               Just to be

   14   clear, I'm going to set the deadline at December 16th for

   15   both Merchant Stronghold to respond as well as

   16   cardsettlement.org to respond.          But I'd like you to

   17   provide a, for class counsel to provide an updated
   18   proposed order to show cause that goes into a little bit

   19   more detail about what is being sought and precisely what

   20   you would hope to get because I think the request that

   21   was made in docket entry number 9495, for instance, also

   22   addresses expenses related to the provision of

   23   information to class members regarding the state of their

   24   claim, directions to file, and any other necessary

   25   information.    The class members will know that




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    1   cardsettlement.org will not be filing a claim on their

    2   behalf.

    3              I'd like some language included in the proposed

    4   order to show cause on that point.           And just to be clear

    5   for counsel now at cardsettlement.org, at a minimum you

    6   have to provide a written response outlining why all

    7   cardsettlement.org's claims filing contract should not be

    8   cancelled at cardsettlement.org's expense and provide a

    9   written response to the Court outlining why

   10   cardsettlement.org should not be permanently barred from

   11   any settlement related services, but also should be

   12   responding, and this is something that I'd like class

   13   counsel to propose language but I might adjust

   14   accordingly, addressing whether sanctions should be

   15   issued here against cardsettlement.org and against

   16   Merchant Stronghold because of the significance of this

   17   potential fraudulent activity.         And I'll order the same
   18   for Merchant Stronghold.

   19              I would ask class counsel if you could file a

   20   proposed order to show cause by later today.               And if you

   21   could also send a Word version of that proposed order to

   22   show cause to my chambers, which I'll put my email

   23   address in the docket entry after this conference just as

   24   a minute entry about this conference, we'll enter an

   25   order promptly.




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    1              But just for logistics sake, counsel on

    2   cardsettlement.org, be aware that your response will be

    3   due by December 16th.      In that response please be aware,

    4   Mr. DeCristofaro, I am going to be looking for as much

    5   information as possible about the standard operating

    6   procedures as well as declarations from the entities and

    7   the individuals involved.       I think I remain concerned

    8   that there may be a massive fraud here particularly in

    9   light of class counsel's point that in two months there's

   10   now 13,000 proofs that have been submitted which may be

   11   appropriate or may not be appropriate.

   12              I am going to also order that at this point

   13   pending further order of the Court, cardsettlement.org

   14   should not be processing or retrieving any new claims or

   15   new submissions or proofs and certainly should not be

   16   sending anything to EPIC absent further order of the

   17   Court because, you know, the Court may ultimately decide
   18   here to cancel all these claim filing contracts and

   19   permanently bar cardsettlement.org from any settlement

   20   related services.

   21              So in the interim, nothing should be taking

   22   place at least absent further order of the Court, you

   23   know, at least at this stage.

   24              All right.     Anything further --

   25              MR. DECRISTOFARO:          Yes, can I just --




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    1              THE COURT:      -- from plaintiff's counsel?

    2              MR. DECRISTOFARO:           Your Honor -- sorry.

    3              THE COURT:      Well, let me hear from class

    4   counsel first.       Actually, I should add I'm going to order

    5   class counsel to respond to the submission that's made on

    6   December 17th by December 20th.            That could be in a

    7   letter format.       I'm not going to set a page limit, but a

    8   reasonable amount of pages.

    9              Let me hear again from Mr. DeCristofaro.

   10              MR. DECRISTOFARO:           Thank you, your Honor.         I

   11   just wanted to request that the Court clarify with

   12   respect to the last point about cardsettlement.org not

   13   processing any claims.       I think the Court did address it

   14   but I just wanted to confirm it and double clarify this.

   15              So that process, the class mentioned something

   16   about received.       So they have lot of referral partners

   17   that send them let's say data and then what are they
   18   supposed to do with that data?           Can they hold it, delete

   19   it, auto respond to it?       What would the Court suggest

   20   that we do?    Because the receiving thing is the thing

   21   that tripped me up a little bit.            I just want to make

   22   sure that we're not running afoul the Court's directive.

   23              THE COURT:      Let me hear from class counsel on

   24   that point at least in terms of receiving the proofs.

   25              MS. BERNAY:      Your Honor, I think they should,




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    1   you know, hold them with -- I think they should not be

    2   allowed to send anything to EPIC because that starts a

    3   process.   And again, this is costing the class

    4   significant time and counsel significant time, and people

    5   at EPIC significant time.       And it's costing the class,

    6   you know, because EPIC is having to, once they receive

    7   information they have, processes that they follow

    8   regarding the review of proof of authority.

    9              So I think that -- and I'm happy to put this in

   10   the order, I don't think class counsel has a view as to

   11   what cardsettlement does internally with material that

   12   they get from their referral partners.              But I think that

   13   they should hold that and not send anything to EPIC until

   14   the Court has a chance to review all of this information.

   15              THE COURT:     Is there any objection to that

   16   proposal from cardsettlement.org?

   17              MR. DECRISTOFARO:          No.   That's fine.      As long
   18   as they can receive and hold, that's fine.

   19              THE COURT:     I will add that I think receiving

   20   is one thing but soliciting may be something different.

   21   I don't think the Court is prepared to rule on whether,

   22   you know, on the merits of this yet about whether

   23   cardsettlement.org's contract should be cancelled and

   24   permanently barred from any settlement related services.

   25   But I also think just as a matter of prudence given the




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    1   circumstances, cardsettlement.org should not be

    2   soliciting, affirmatively soliciting.             I mean I realize

    3   the website is up and you may be receiving an

    4   application.    But I think obviously if it turns out that

    5   separately there is some additional solicitation going on

    6   or there's something that's being done afterwards, they

    7   only seem to create more problems than there were at this

    8   stage for cardsettlement.org.

    9              I will say I'll ask class counsel to include

   10   some language in the proposed order to show cause on this

   11   point that would --

   12              MS. BERNAY:     Yes, your Honor.

   13              THE COURT:     That would effectively say that

   14   they should not, that cardsettlement.org should not be

   15   submitting anything to EPIC.          And again, if there are

   16   sanctions or if there is some kind of expenses that need

   17   to be covered, it would again seem to be in the best
   18   interest of cardsettlement.org to abide by this order

   19   because it would only seem to create more costs later if

   20   there is an order about cancellation or permanently

   21   barred from settlement services.

   22              MR. DECRISTOFARO:          With respect to the --

   23              MS. BERNAY:     Your Honor --

   24              THE COURT:     Yes, go ahead.         Go ahead, Mr.

   25   DeCristofaro.




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    1              MR. DECRISTOFARO:          I just wanted to -- once

    2   again I apologize for being slow on the uptake here if I

    3   am.   With respect to the solicitation part, there's

    4   really two components to it.          Well, there's three, right?

    5   There's sitting there and just receiving, which I think

    6   the Court addressed.      That's understandable if that

    7   happens.   But when you're going out, and I'm just making

    8   this up, if you're sitting there with a sign walking in

    9   Times Square signing up people, that's an affirmative

   10   solicitation.    And has the Court ruled on that, you know,

   11   that cardsettlement.org is not to actively solicit?                  Is

   12   that a prohibition here or has the Court not ruled on

   13   that?

   14              THE COURT:     I haven't ruled on that because I

   15   think at this stage it may be premature to say that

   16   cardsettlement.org is precluded from actively soliciting.

   17   I think as a practical matter, particularly with
   18   individuals from cardsettlement.org on the line, it would

   19   just seem to behoove cardsettlement.org to avoid any

   20   active solicitation here until the Court issues an order

   21   I mean because if, for instance, you solicit and you're

   22   actively trying to get individuals to come in, the costs

   23   it would seem would be significant if the Court orders

   24   that all such contracts need to be cancelled at

   25   cardsettlement.org's expense.          So if anything, this is




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    1   more of a note that, you know, if you're going to

    2   actively solicit, the Court isn't prohibiting it, but

    3   that might actually increase the expenses and costs

    4   should the Court ruled against cardsettlement.org in the

    5   days to come.

    6               I also add, as you're aware, the Court is

    7   moving as efficiently as possible here.                  So you know,

    8   cardsettlement.org will have a good sense of the Court's

    9   views on this in a timely manner.            So this won't be

   10   something in which you won't know what to do here for

   11   months.   I mean we're going to act here as efficiently as

   12   possible.

   13               MR. DECRISTOFARO:          And then to close the loop

   14   on this and to the extent the Court wishes to deliver

   15   another note which of course we are certainly grateful,

   16   there are many third-party partners who are actively

   17   soliciting as well that cardsettlement.org does not have
   18   day-to-day control over.

   19               THE COURT:     Well look, I think again I'm not

   20   going to prohibit solicitation but I will say that in

   21   terms of the response to the order to show cause I would

   22   want to know about those third-party entities which

   23   sounds like Merchant Stronghold would have fallen into

   24   that category.       And you know, the Court needs to know

   25   what efforts are made to make sure that those entities




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    1   are actually processing the submissions in the

    2   appropriate fashion to avoid fraud.

    3              So look, at this point I'm not prohibiting

    4   solicitation but I am, because again, that's not ripe for

    5   the Court at this stage, but I am ordering

    6   cardsettlement.org to explain itself.             I'll put the

    7   details of what exactly will be required in their

    8   response once I get the updated order to show cause from

    9   the class counsel and then to proceed accordingly.

   10              MS. BERNAY:     Your Honor, this is Alexandra

   11   Bernay.   Just one quick note.         At least two points I have

   12   requested and not received the list of all of the

   13   referral partners.     And I think that that is really the

   14   area were a lot of these problems have come forward which

   15   is that these are their agents but they are not

   16   necessarily properly controlling them, managing them,

   17   checking with they're submitting obviously this Merchant
   18   Stronghold being at least the most egregious example that

   19   we're aware of.

   20              So I would suggest that in this proposed order

   21   that they be required to turn over that complete list

   22   because we have not received it.

   23              THE COURT:     Any objection to that from counsel

   24   for cardsettlement.org?

   25              MR. DECRISTOFARO:          Not from counsel but I




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    1   haven't checked with my client yet.

    2              THE COURT:     All right.       Well look, I'll ask

    3   class counsel to include whatever information you think

    4   appropriate in the proposed order to show cause.                 I may

    5   adjust it accordingly once I review.             But obviously, you

    6   know, the Court would be interested to know how many of

    7   the third parties are involved and the processes by which

    8   they are vetting these claims.

    9              So again, I'll ask class counsel to file that

   10   updated order to show cause, proposed order to show

   11   cause.   I will review.     The deadline won't change.             I'll

   12   enter an updated order to show cause.             The

   13   cardsettlement.org should respond by December 16th.                  By

   14   December 20th, class counsel shall effectively file a

   15   reply or a response to what's been filed by

   16   cardsettlement.org, and then the Court will rule

   17   accordingly.    Okay?
   18              Anything else at this time?

   19              MS. BERNAY:     No, your Honor.

   20              MR. DECRISTOFARO:          No, your Honor.       Thank you.

   21              THE COURT:     Okay.   We're adjourned.

   22                           (Matter concluded)

   23                                   -oOo-

   24

   25




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                       I, MARY GRECO, hereby certify that the

         foregoing transcript of the said proceedings is a true

         and accurate transcript from the electronic sound-

         recording of the proceedings reduced to typewriting in

         the above-entitled matter.



                       I FURTHER CERTIFY that I am not a relative or

         employee or attorney or counsel of any of the parties,

         nor a relative or employee of such attorney or counsel,

         or financially interested directly or indirectly in

         this action.



                       IN WITNESS WHEREOF, I hereunto set my hand

         this 12th day of December, 2024.




                                          Transcriptions Plus II, Inc.




                       Transcriptions Plus II, Inc.
